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IN THE UNITED STATES DISTRICT COURT Fu£D B'f f D (`
FOR THE WESTERN DISTRICT OF TENNESSEE h " ` "’
WESTERN DIVISION
05 JU%.l -9 PH 2= hU
meeting t;'ij,r j;"r.
UNITED STATES OF AMERICA ) W.D. O.'-‘ a*N. sweatt-1413
)
Plaintiff, )
)
VS ) CASE NO. 2:04CR20079-Ml
)
MARK STRAIGHT )
)
Defendant. )
)

 

*F-O-U-R-T-H E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Mark Straight, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to FMC Lexington, 3301 Leestown,

Lexington, KY, 40511 , by 2:00 p.m. on *MONDAY JUNE 13 2005.

 

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she Will

report as ordered to the facility named above.

ENTERED this the g day ofJune, 2005

/Q,_…Q lll‘@@l

J 0 PHIPPS McCALLA
U I'I`ED STATES DISTRICT JUDGE

 

   

Tb%s document entered on the docket sheet ln comf|tance

with me 55 and/or sam PHch on b '10 »0

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if l fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

   

UNITED sTEsAT DIsTRICT COURT - WE TER DIsTRICT TNNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CR-20079 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

